




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

LUIS GARCIA,)
		   No. 08-04-00006-CR

)


			Appellant,)
			Appeal from

)
	

v.)
		     171st District Court

)


THE STATE OF TEXAS,)
		of El Paso County, Texas

)


			Appellee.)
		    (TC# 20030D04443)


MEMORANDUM OPINION



	Luis Garcia appeals from a conviction for delivery of marihuana.  Finding that Appellant has
not complied with Rule 25.2 of the Texas Rules of Appellate Procedure, we dismiss the appeal.

	Rule 25.2(a)(2) governs the defendant's right to appeal in a criminal case:


	A defendant in a criminal case has the right of appeal under Code of Criminal
Procedure article 44.02 and these rules.  The trial court shall enter a certification of
the defendant's right of appeal in every case in which it enters a judgment of guilt or
other appealable order. (1)  In a plea bargain case--that is, a case in which defendant's
plea of guilty or nolo contendere and the punishment did not exceed the punishment
recommended by the prosecutor and agreed to by the defendant--a defendant may
appeal only:


		(A)  those matters that were raised by written motion filed and ruled
on before trial, or


		(B)  after getting the trial court's permission to appeal.


Tex.R.App.P. 25.2(a)(2).


	Appellant filed a timely notice of appeal but the notice did not include the trial court's
certification of the defendant's right to appeal as required by Rules 25.2(a)(2) and 25.2(d).  The
Clerk's Office notified Appellant's counsel that a certification had not been filed and requested that
Appellant file an amended notice of appeal within thirty days or the appeal would be dismissed
pursuant to Rule 25.2(d).  See Tex.R.App.P. 25.2(d)("The appeal must be dismissed if a certification
that shows the defendant has the right of appeal has not been made part of the record under these
rules.").  Appellant has not filed an amended notice of appeal.  Accordingly, the appeal is dismissed.


April 1, 2004						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)
1.   Rule 25.2(d) requires that the trial court certify whether the defendant has a right of appeal under
Rule&nbsp;25.2(a)(2).  Tex.R.App.P. 25.2(d).


